                                                 Case: 1:22-cv-02150 Document12-Person
                                                                              #: 1-1 Filed: 04/26/22 Page 1 of 9 PageID #:5
                                                                                         Jury

                                                                                                                                  FILED
                                                                                                                                  3/10/2022 3:56 PM
                                                           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                          IRIS Y. MARTINEZ
                                                                  COUNTY DEPARTMENT, LAW DIVISION                                 CIRCUIT CLERK
                                                                                                                                  COOK COUNTY, IL
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                                                                                                                                 17038091
                                             NICOLE CARRANO-RIVERA,                              )
                                                                                                 )
                                                    Plaintiff,                                   )
                                                                                                 )
                                                    v.                                           ) Case No.:
                                                                                                             2022L002382
                                                                                                 )
                                             TARGET CORPORATION, a foreign                       )
                                                                                                   Hearing Date: 5/18/2022 10:00 AM
                                             corporation, d/b/a Target #1176, and                )
                                             Debbie Huchro, individually and as an agent         )
                                             of Target Corporation,                              )
                                                                                                 )
                                                   Defendants.                                   )

                                                                                COMPLAINT AT LAW

                                                   Plaintiff, NICOLE CARRANO-RIVERA, through her attorneys ROMANUCCI &

                                            BLANDIN, complains of Defendants, TARGET CORPORATION, a foreign corporation, d/b/a

                                            Target #1176 and Debbie Huchro, individually and as an agent of Target Corporation, pleading

                                            hypothetically and in the alternative where stated or applicable, hereby states as follows:

                                                                 FACTUAL ALLEGATIONS AND JURISDICTION

                                                   1.      On March 29, 2020, and at all times relevant herein, Plaintiff, NICOLE

                                            CARRANO-RIVERA, was a resident of Du Page County, Illinois.

                                                   2.      At all times relevant herein, there was a law in full force and effect in the State of

                                            Illinois governing venue, 735 ILCS 5/2-102, which, inter alia, provides that any private

                                            corporation is a resident of any county in which it has its registered office or other office or is

                                            doing business.

                                                   3.      On March 29, 2020, and at all times relevant herein, Defendant, TARGET

                                            CORPORATION, a foreign corporation, d/b/a Target, d/b/a Target #1176 (herein collectively

                                            referred to as “TARGET”) had a place of business listed at 1700 East Rand Road, Arlington

                                            Heights, Cook County, State of Illinois.
                                                                                                                                 EXHIBIT A
                                                                                             1
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                                                    4.     On March 29, 2020, and at all times relevant herein, there existed a retail store

                                            incorporated under the laws of and licensed to do business at 1700 East Rand Road, Arlington
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                                            Heights, Cook County, State of Illinois, commonly known as Target #1176.

                                                    5.     On March 29, 2020, and at all times relevant herein, Defendant TARGET was

                                            doing business as Target #1176.

                                                    6.     On March 29, 2020, and at all times relevant herein, Defendant TARGET owned

                                            the premises located at 1700 East Rand Road, Arlington Heights, Cook County, State of Illinois.

                                                    7.     On March 29, 2020, and at all times relevant herein, Defendant TARGET operated

                                            the premises located at 1700 East Rand Road, Arlington Heights, Cook County, State of Illinois.

                                                    8.     On March 29, 2020, and at all times relevant herein, Defendant TARGET managed

                                            the premises located at 1700 East Rand Road, Arlington Heights, Cook County, State of Illinois.

                                                    9.     On March 29, 2020, and at all times relevant herein, Defendant TARGET

                                            maintained the premises located at 1700 East Rand Road, Arlington Heights, Cook County, State

                                            of Illinois.

                                                    10.    On March 29, 2020, and at all times relevant herein, Defendant TARGET

                                            controlled the premises located at 1700 East Rand Road, Arlington Heights, Cook County, State

                                            of Illinois.

                                                    11.    On March 29, 2020, and at all times relevant herein, Target #1176 was open for

                                            business to the general public.

                                                    12.    On March 29, 2020, and at all times relevant herein, there existed uneven, broken,

                                            and/or otherwise defective curbside cement at Target #1176.

                                                    13.    On March 29, 2020, and at all times relevant herein, said uneven cement existed at

                                            or near the front entrance to Target #1176 used by customers of Target #1176.

                                                    14.    At no time on March 29, 2020, did an employee, agent, and/or servant of Defendant
                                                                                           2
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                                            TARGET level the uneven cement existing at or near the front entrance of Target #1176.

                                                    15.      At no time on March 29, 2020, did an employee, agent, and/or servant of Defendant
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                                            TARGET warn customers of said uneven cement.

                                                    16.      At no time on March 29, 2020, did an employee, agent, and/or servant of Defendant

                                            TARGET place warning signs near said uneven cement.

                                                    17.      At no time on March 29, 2020, did an employee, agent, and/or servant of Defendant

                                            TARGET place barricades near said uneven cement to prevent customers from tripping on said

                                            uneven cement.

                                                    18.      On March 29, 2020, Plaintiff NICOLE CARRANO-RIVERA was a customer at

                                            Target #1176.

                                                    19.      On March 29, 2020, Plaintiff NICOLE CARRANO-RIVERA tripped on the

                                            aforementioned uneven cement at or near the front entrance to Target #1176.

                                                    20.      As a result of tripping on the aforementioned uneven cement, Plaintiff NICOLE

                                            CARRANO-RIVERA fell to the ground and was injured.

                                                                       COUNT I—NEGLIGENCE
                                              NICOLE CARRANO-RIVERA v. TARGET CORPORATION, a foreign corporation, d/b/a
                                                                    Target, d/b/a Target #1176

                                                    21.      Plaintiff incorporates by reference paragraphs 1 through 20 of the Factual

                                            Allegations, as though fully stated herein.

                                                    22.      It was the duty of the defendant, before and at the time of the occurrence, to use

                                            ordinary care for the safety of the plaintiff.

                                                    23.      Notwithstanding said duty, on the aforesaid date and at said place, Defendant

                                            TARGET by and through its duly authorized agents, employees, and/or servants committed one

                                            or more of the following acts and/or omissions:

                                                          a. Created the condition present in the cement;
                                                                                              3
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                                                            b.   Did not level the uneven cement;
                                                            c.   Did not direct customers around the cement;
                                                            d.   Did not warn of the uneven cement; and/or
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                                                            e.   Did not separate patrons from the uneven cement.

                                                      24.        At the aforesaid time and place, as a result of one or more of the foregoing acts

                                            and/or omissions, Plaintiff NICOLE CARRANO-RIVERA tripped on uneven cement and fell to

                                            the ground.

                                                      25.        As a direct and proximate result of one or more of the foregoing acts and/or

                                            omissions, Plaintiff NICOLE CARRANO-RIVERA sustained injuries of a personal and pecuniary

                                            nature.

                                                      26.        As a further direct and proximate result of one or more of the foregoing acts and/or

                                            omissions, Plaintiff NICOLE CARRANO-RIVERA suffered severe and permanent injuries, both

                                            internally and externally; and as a consequence thereof, Plaintiff has suffered and will continue to

                                            suffer great pain and mental anguish and loss of a normal life; that in addition thereto, Plaintiff has

                                            incurred and will in the future incur reasonable and necessary medical expenses in endearing to

                                            treat of said injuries; and that Plaintiff has and will suffer from disability and disfigurement, and

                                            has otherwise been damaged in a pecuniary way.

                                                      WHEREFORE, Plaintiff NICOLE CARRANO-RIVERA through her attorneys,

                                            ROMANUCCI & BLANDIN, prays for judgment against Defendant TARGET for an amount in

                                            excess of FIFTY THOUSAND DOLLARS ($50,000.00), the jurisdictional limit of the law

                                            division of the Circuit Court of Cook County.

                                                                    COUNT II – PREMISES
                                              NICOLE CARRANO-RIVERA v. TARGET CORPORATION, a foreign corporation, d/b/a
                                                                    Target, d/b/a Target #1176

                                                      27.        Plaintiff re-alleges paragraphs 1 through 20 as if fully stated herein as paragraph 27

                                            of her Complaint at Law.


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                                                   28.      It was the duty of Target Corporation, as an owner and occupier of the property in

                                            question, to exercise ordinary care to see that the property was reasonably safe for the use of those
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                                            lawfully on the property.

                                                   29.      Notwithstanding said duty, Defendant TARGET committed one or more of the

                                            following acts and/or omissions:

                                                         a. Allowed a dangerous condition to exist at or near the front entrance of the premises
                                                            by failing to take the appropriate steps to level the uneven cement that they knew,
                                                            or in the exercise of ordinary care, should have known would create a trip hazard
                                                            to invitees and other persons, including Plaintiff, NICOLE CARRANO-RIVERA;

                                                         b. Allowed a dangerous condition to exist by failing to take appropriate steps to ensure
                                                            that invitees had a safe pathway into the premises when they knew or, in the
                                                            exercise of ordinary care, should have known that invitees and other patrons would
                                                            be using said front entrance and knew that there was uneven cement at or near the
                                                            front entrance which created a trip hazard for Plaintiff, NICOLE CARRANO-
                                                            RIVERA;

                                                         c. Failed to provide a reasonably safe pathway for invitees when they knew, or in the
                                                            exercise of ordinary care, should have known that invitees and other persons would
                                                            be using said front entrance and knew that there was uneven cement which created
                                                            a trip hazard for Plaintiff, NICOLE CARRANO-RIVERA;

                                                         d. Failed to properly warn and/or notify invitees of a dangerous condition present at
                                                            or near the front entrance when they knew or, in the exercise of ordinary care,
                                                            should have known that invitees or other persons would not have knowledge of said
                                                            dangerous condition and knew that there was uneven cement at or near said front
                                                            entrance which created a trip hazard for Plaintiff, NICOLE CARRANO-RIVERA;

                                                         e. Failed to properly train employees and/or contractors on how to inspect and level
                                                            the uneven cement;

                                                         f. Failed to provide a safe means of entering the premises when they knew or, in the
                                                            exercise of ordinary care, should have known that invitees or other persons would
                                                            be using said front entrance to enter the premises and knew that there was uneven
                                                            cement at or near said front entrance which created a trip hazard for Plaintiff,
                                                            NICOLE CARRANO-RIVERA; and/or

                                                         g. Failed to instruct employees, and contractors to properly and adequately maintain
                                                            the curbs at or near the front entrance for use by invitees.




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                                                      30.   At the aforesaid time and place, as a result of one or more of the foregoing acts

                                            and/or omissions, Plaintiff, NICOLE CARRANO-RIVERA, tripped on the said uneven cement
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                                            and fell to the ground.

                                                      31.   As a direct and proximate result of one or more of the foregoing acts and/or

                                            omissions, Plaintiff NICOLE CARRANO-RIVERA sustained injuries of a personal and pecuniary

                                            nature.

                                                      32.   As a further direct and proximate result of one or more of the foregoing acts and/or

                                            omissions, Plaintiff NICOLE CARRANO-RIVERA suffered severe and permanent injuries, both

                                            internally and externally; and as a consequence thereof, Plaintiff has suffered and will continue to

                                            suffer great pain and mental anguish and loss of a normal life; that in addition thereto, Plaintiff has

                                            incurred and will in the future incur reasonable and necessary medical expenses in endearing to

                                            treat of said injuries; and that Plaintiff has and will suffer from disability and disfigurement, and

                                            has otherwise been damaged in a pecuniary way.

                                                      WHEREFORE, Plaintiff NICOLE CARRANO-RIVERA through her attorneys,

                                            ROMANUCCI & BLANDIN, prays for judgment against Defendant TARGET for an amount in

                                            excess of FIFTY THOUSAND DOLLARS ($50,000.00), the jurisdictional limit of the law

                                            division of the Circuit Court of Cook County.

                                                                     COUNT III—NEGLIGENCE
                                                NICOLE CARRANO-RIVERA v. DEBBIE HUCHRO, individually and as an agent of
                                                                            TARGET

                                                      33.   Plaintiff incorporates by reference paragraphs 1 through 20 of the Factual

                                            Allegations as and for paragraph 33 as though fully stated herein.

                                                      34.   On information and belief, on March 29, 2020, Debbie Huchro was a resident of

                                            Illinois.

                                                      35.   On March 29, 2020, Debbie Huchro was an employee and agent of Target.
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                                                   36.      On and before March 29, 2020, Target,

                                                            a.      Withheld taxes from Debbie Huchro’s paycheck;
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                                                            b.      Had the right to terminate her from her employment with Target;
                                                            c.      Provided Debbie Huchro the tools to perform her job;
                                                            d.      Provided Debbie Huchro materials to perform her job;
                                                            e.      Provided Debbie Huchro equipment to perform her job; and/or
                                                            f.      Derived a direct benefit from the work Debbie Huchro performed.

                                                   37.      On and before March 29, 2020, Debbie Huchro:

                                                            a.      Was a Target manager;
                                                            b.      Was responsible for the overall operation of Target store #1176;
                                                            c.      Was responsible for the overall operation of Target store #1176;
                                                            d.      Was responsible for directing employees of Target store #1176;
                                                            e.      Was responsible for supervising employees of Target store ##1176;
                                                            f.      Had control over the work performance of the employees who inspected the
                                                                    outside areas of Target store #1176; and
                                                            g.      Had control over the work performance of the employees who worked
                                                                    outside areas of Target store #1176 including by way of example and not
                                                                    limitation employees who shuttled carts into and out of the store.


                                                   38.      It was the duty of the Defendant, before and at the time of the occurrence, to use

                                            ordinary care for the safety of Plaintiff, NICOLE CARRANO-RIVERA.

                                                   39.      Notwithstanding said duty, on the aforesaid date and at said place, Defendant

                                            Debbie Huchro committed one or more of the following acts and/or omissions:

                                                         a. Failed to properly train employees with job responsibilities that included
                                                            performing inspections of the outside of the store;
                                                         b. Failed to properly train employees with job responsibilities that included shuttling
                                                            carts in and out of the store;
                                                         c. Failed to direct employees on conducting proper inspections;
                                                         d. Failed to see that the property was safe for guests;
                                                         e. Failed to remedy the cement condition that was a cause of plaintiff’s fall;
                                                         f. Failed to implement proper inspection procedures;
                                                         g. Failed to properly supervise the employees tasked with inspecting the premises;
                                                         h. Failed to properly supervise the employees tasked with shuttling carts in and out of
                                                            the store; and/or
                                                         i. Failed to provide employees with policies and procedures regarding inspections of
                                                            outside the store.




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                                                      40.   At the aforesaid time and place, as a result of one or more of the foregoing acts

                                            and/or omissions, Plaintiff, NICOLE CARRANO-RIVERA, tripped on the said uneven cement
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                                            and fell to the floor.

                                                      41.   As a direct and proximate result of one or more of the foregoing acts and/or

                                            omissions, Plaintiff NICOLE CARRANO-RIVERA sustained injuries of a personal and pecuniary

                                            nature.

                                                      42.   As a further direct and proximate result of one or more of the foregoing acts and/or

                                            omissions, Plaintiff NICOLE CARRANO-RIVERA suffered severe and permanent injuries, both

                                            internally and externally; and as a consequence thereof, Plaintiff has suffered and will continue to

                                            suffer great pain and mental anguish and loss of a normal life; that in addition thereto, Plaintiff has

                                            incurred and will in the future incur reasonable and necessary medical expenses in endearing to

                                            treat of said injuries; and that Plaintiff has and will suffer from disability and disfigurement, and

                                            has otherwise been damaged in a pecuniary way.

                                                      WHEREFORE, Plaintiff NICOLE CARRANO RIBERA through her attorneys,

                                            ROMANUCCI & BLANDIN, prays for judgment against Defendant DEBBIE HUCHRO,

                                            individually and as an agent of Target Corporation, for an amount in excess of FIFTY

                                            THOUSAND DOLLARS ($50,000.00), the jurisdictional limit of the law division of the Circuit

                                            Court of Cook County.



                                                                                                   Attorney for Plaintiff

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                                                          IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                 COUNTY DEPARTMENT, LAW DIVISION
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                                            NICOLE CARRANO-RIVERA,                            )
                                                                                              )
                                                   Plaintiff,                                 )
                                                                                              )
                                                   v.                                         )    Case No.:
                                                                                              )
                                            TARGET CORPORATION, a foreign                     )
                                            corporation, d/b/a Target #1176, and              )
                                            Debbie Huchro, individually and as an agent       )
                                            of Target Corporation,                            )
                                                                                              )
                                                  Defendants.                                 )

                                                                                   JURY DEMAND

                                                  Plaintiff hereby demands a jury trial in this case.

                                                                                                  Respectfully submitted,



                                                                                                  Attorney for Plaintiff
                                                                                                  (ARDC No: 6307986)
                                            ATTORNEY FOR PLAINTIFFS:
                                            ROMANUCCI & BLANDIN, LLC.
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